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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY


 SANOFI-AVENTIS U.S. LLC,


                    Plaintiff,

          v.                                           No. 3:21-CV-634

 U.S. DEPARTMENT OF HEALTH AND
 HUMAN SERVICES, et al.,

                    Defendants.


                                              ORDER

       In consideration of the parties’ request that the Court enter a stipulated schedule for briefing

the merits of Plaintiffs’ Amended Complaint, good cause having been shown, the Court hereby

GRANTS the request and orders:

           •   Defendants will produce the administrative record of HHS’s General Counsel’s
               Advisory Opinion on March 23, 2021
           •   Defendants will produce the administrative record of HHS’s newly promulgated
               Administrative Dispute Resolution rule on April 6, 2021
           •   Defendants will move to dismiss for lack of subject-matter jurisdiction and failure to
               state a claim or, in the alternative, for summary judgment on April 19, 2021
           •   Plaintiffs will oppose Defendants’ motion to dismiss and cross-move for
               summary judgment on May 10, 2021
           •   Defendants will reply in support of their motion to dismiss and oppose Plaintiffs’ cross-
               motion for summary judgment on May 31, 2021
           •   Plaintiffs will reply in support of their motion for summary judgment on June 14,
               2021
           •   Hearing on the parties’ motions to be held June 21, 2021 or at the Court’s soonest
               availability thereafter.
           •   Each side shall have 60 pages in 12-point, non-proportional font (80 pages in 14-
               point font) for their opening brief, and 30 pages in 12-point, non-proportional
               font (40 pages in 14-point font) for their reply brief.

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         •   The parties are excused from compliance with Local Civil Rule 56.1 in that they are
             not required to include statements of material facts not in dispute in their summary-
             judgment briefing.
         •   Plaintiff's motion for preliminary injunction [DKT #19] is held in abeyance and
             ADMINISTRATIVELY TERMINATED; as such, the parties need not submit any
             supplemental briefing as requested by this Court's email dated March 17, 2021.
              March 23, 2021
      Dated: _____________                                  /s/ Freda L. Wolfson
                                                    Signed:__________________
                                                    The Honorable Freda L. Wolfson




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